                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF ⅣIISSOURI
                               WESTERN DIVIS10N

 WITED STATES OF AMERICA,
                                 Plaintift


        V.                                           Casc No.19‑00239¨ 01¨ CR― W― DGK

 ZORANIISEPULVEDA,

                                 Defendant.

                                       PLEA AGREEMENT

       Pursuant   to Rule ll(cXlXB) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.    The Parties. The parties to this agreement are the United States Attorney's Office

for the Western District of Missouri (otherwise referred to as "the Government" or "the United

States"), represented by Timothy     A. Ganison, United     States Attorney, and Robert   M. Smith,

Assistant United States Attorney, and the defendant, Zoram Sepulveda ("the defendant"),

represented by Shazzie Naseem.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attomey for the Western District of Missouri, and that it does not bind any other

federal, state, or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

       2.    Defendant's Guilty    Plea.     The defendant agrees to and hereby does plead guilty to

Count One of the Indictment charging him with a violation of 18 U.S.C. $ 922(9)(3), that is, being

a drug user in possession   of a firearm and ammunition. By entering into this plea agreement, the

defendant admits that he knowingly committed this offense, and is in fact guilty of this offense.
       3.   Factual Basis for Guiltv PIea. The parties agree that the facts constituting the

offense to which he is pleading guilty are as follows:

              On or about June 28, 2019, in the Western District of Missouri, the
       defendant, knowing he was an unlawful user of a controlled substance as defined
       in 21 U.S.C. $ 802, knowingly possessed a firearm and ammunition, to wit: a
       Glock 23, .40 caliber, automatic pistol, bearing Serial Number LBA626,loaded
       with 12 rounds of TulAmmo .40 caliber ammunition; and an extended Glock
       magazine containing 16 rounds of Federal and one (l) round of TulAmmo .40
       caliber ammunition, all of which was shipped and transported in interstate
       commerce in violation of 18 U.S.C. $$ 922(9)(3) and 92a@)Q).

               More specifically, On June 28,2019, at approximately 1053 hours, IPD
       Officer Bateman was conducting speed enforcement in the area of northbound 291
       at Truman Road, Independence, Missouri. At that time, Officer Bateman observed
       a white Ford Focus tailgating a vehicle in the left lane of northbound 291
       approaching Truman Road. The Ford Focus started to pass the vehicle in the right
       lane at which time Officer Bateman used his laser radar device and got a reading
       that the Ford Focus' speed was 79 MPH in a 50 MPH zone.

               Offrcer Bateman stepped to the side of his marked police motorcycle and
       placed the laser in his saddlebag while maintaining a visual on the vehicle as it
       approached. Officer Bateman then got on his motorcycle and began to put the
       kickstand up. The driver of the Ford Focus made eye contact with Officer
       Bateman and then attempted to quickly slow and exit onto the Truman Road exit
       directly behind Officer Bateman's motorcycle.

               The Ford Focus was traveling too fast and began to skid in the debris left in
       the triangle shaped shoulder behind the motorcycle. The Ford Focus came to a
       stop approximately four feet behind the motorcycle and Officer Bateman put the
       kickstand down and dismounted from the motorcycle and quickly approached the
       vehicle on the passenger side. The window was down and the driver, the defendant,
       was the sole occupant.

               Upon making contact, Officer Bateman observed a silver revolver in the
       defendant's left hand and a Glock handgun lying on his right leg. Officer Bateman
       drew his sidearm and ordered the defendant to put his hands on the steering wheel.
       The defendant dropped the revolver onto his lap and looked at Officer Bateman
       while keeping both hands open inches above the firearms. Officer Bateman
       ordered the defendant a second time to put his hands on the steering wheel and he
       did not comply. The defendant then quickly reached for the shifter and placed the
       vehicle in gear and took off northbound on 291.
        Officer Bateman got back onto his motorcycle and pursued the Focus. The
Focus cut in front of traffic and then drove on the right shoulder passing vehicles.
Officer Bateman accelerated to approximately 75 mph as the Focus took the next
right tum onto Independence Avenue.

       The Focus fled into the GEO Space industrial facility (the "caves").
Officer Bateman terminated the pursuit inside of the caves after he lost radio signal
and was unable to make contact with dispatch or other officers. A perimeter was
established around the GEO Space facility and the structure was placed on
lockdown. Every entrance/exit to the facility was covered by officers with the
Independence, Missouri Police Department, K-9 Units from the Jackson County,
Missouri, Sheriff s Office and the Oak Grove, Missouri Police Department. All
vehicles leaving the facility were checked while search teams entered the facility
to search for the defendant.

         A maintenance worker advised that he had observed an individual matching
the defendant's description running north near the interior address of 3011 E.
Officers responded to that area and located the white Ford Focus abandoned and
still running at bay 3011 E Dock 7.

         At approximately 1 128 hours, the defendant approached the Salisbury Road
exit to the caves. He was wearing black shorts and black Nike tennis shoes and no
shirt and was sweating profusely. Officer Bateman also responded and positively
identified Sepulveda.

       A police tow was ordered for the white Ford Focus and an inventory was
conducted. During the inventory, neither of the firearms observed by Officer
Bateman were located. A backpack was located in the back passenger side seat of
the vehicle. Officers found a Glock extended magazine containing 17 rounds of
.40 caliber ammunition in the main compartment of the backpack.

        SWAT Officer Smith was searching the area between the vehicle that the
defendant had abandoned and the Salisbury exit. While checking a tractor trailer
backed into the docks at 4109 E (Dock l2), he observed what appeared to be a
phone charging cable on the ground along with items of trash from Hardees. Upon
closer inspection, Officer Smith observed the hat and grey shirt, as described by
Officer Bateman, shoved up into the frame by the rear axles of the truck. In
surveillance video from the caves, the defendant can be observed carrying what
appears to be a brown paper bag consistent with the Hardees bag.

        Officers then conducted a search for the firearms between the area that the
vehicle was abandoned by Sepulveda (3011 E, Docks 7-8) and where his shirt and
hat were located (4109 E, Docks 12-13). On the route traveled by the defendant,
       Detective Baker located a Glock firearm inside the housing for two large industrial
       ventilation fans. The firearm was a Glock 23, .40 caliber semi-automatic pistol
       with Serial Number LBA626. The firearm had "IPD" stamped on the slide. The
       firearm was loaded with 12 rounds of ammunition. All of the rounds in the firearm
       were the same and they all matched one (1) round that was in the extended
       magazine recovered from the abandoned vehicle. The revolver was never located.

              During the defendant's intake at the IPD detention facility, Detention
       Officer Simmons located a small zip-lock baggie containing a white powdery
       substance inside of the defendant's wallet. Detective Cook recovered the
       substance and Detective Leach conducted a TruNarc scan of the substance which
       showed positive for methamphetamine. The approximate field weight of the
       substance was 1.55 grams.

              On June 29,2019, at approximately 0751 hours, Detective Cook conducted
       an interview with the defendant. The defendant was advised of and waived his
       Miranda rights. He admitted to being a drug user since he graduated from high
       school in2007. The defendant further admitted that he smokes methamphetamine
       and that he last used methamphetamine on June 28,2019.

               Supervisory Special Agent Matthew Wilson with the Bureau of Alcohol,
       Tobacco, Firearms and Explosives, advised the Glock 23 and ammunition
       recovered were manufactured in the State of Missouri, and therefore, would have
       traveled across state lines before the defendant's possession.

               The Glock 23 was test fired by IPD crime lab and determined to be a fully-
       automatic handgun, and upon examination, an auto sear had been installed on the
       rear exterior of the slide.

       4.   Use of Factual Admissions and Relevant      Conduct.     The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea

agreement   will be used for the purpose of determining his guilt   and advisory sentencing range

under the United States Sentencing Guidelines ("U.S.S.G."), including the calculation of the

defendant's offense level     in   accordance   with U.S.S.G.   $   1B1.3(a)(2). The defendant

acknowledges, understands and agrees that the conduct charged in any dismissed counts of the

Indictment as well as all other uncharged related criminal activity may be considered as "relevant


                                                 4
conduct" pursuant to U.S.S.G. $ 1B1 .3(a)(2) in calculating the offense level for the charge to

which he is pleading guilty.

       5.   Statutory Penalties. The defendant understands that upon his plea of guilty to Count

One of the Indictment charging him with being a drug user in possession            of firearms and

ammunition, the maximum penalty the Court may impose               is   not more than   i0   years of

imprisonment, a $250,000 fine, three years of supervised release, and a $100 mandatory special

assessment which must be paid in        full at the time of   sentencing.    The defendant further

understands that this offense is a Class C felony.

       6.   Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

                 a.   in determining the appropriate sentence, the Court will consult    and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission; these Guidelines, however. are advisory in nature, and the
       Court may impose a sentence either less than or greater than the defendant's
       applicable Guidelines range, unless the sentence imposed is "uffeasonable";

                 b.    the Court will determine the defendant's applicable Sentencing
       Guidelines range at the time of sentencing;

                 c.in addition to a sentence of imprisonment, the Court may impose a term
       of supervised release of up to three years; that the Court must impose a period of
       supervised release if a sentence of imprisonment of more than one year is imposed;

                 d.
                 if the defendant violates a condition of his supervised release, the Court
       may revoke his supervised release and impose an additional period of
       imprisonment of up to two years without credit for time previously spent on
       supervised release. In addition to a new term of imprisonment, the Court also may
       impose a new period of supervised release, the length of which cannot exceed three
       years, less the term of imprisonment imposed upon revocation of the defendant's
       first supervised release;




                                                     5
                 e.the Court may impose any sentence authorized by law, including a
       sentence that is outside of, or departs from, the applicable Sentencing Guidelines
       range;

                 f.   any sentence of imprisonment imposed by the Court will not allow for
       parole;

                 g.the Court is not bound by any recommendation regarding the sentence
       to be imposed or by any calculation or estimation of the Sentencing Guidelines
       range offered by the parties or the United States Probation Office; and

                 h.the defendant may not withdraw his guilty plea solely because of the
       nature or length of the sentence imposed by the Court'

       7.    Government's Agreements. Based upon evidence in its possession at this time, the

United States Attorney's Office for the Western District of Missouri, as part of this plea agreement,

agrees not   to bring any additional charges against defendant for any federal criminal offenses

related to the conduct outlined in Paragraph 3 for which it has venue and which arose out of the

defendant,s conduct described     above. Additionally, the United    States Attorney for the Westem


District of Missouri agrees to dismiss Counts Two and Three at sentencing.

        The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act of physical or sexual violence against

the person of another, or a conspiracy to commit any such acts of violence or any criminal activity

of which the United States Attorney for the Western District of Missouri has no knowledge.

        The defendant recognizes that the United States' agreement to forego prosecution of all     of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement.        If the defendant   breaches   this plea agreement, the

United States retains the right to proceed with the original charges and any other criminal

violations established by the evidence. The defendant expressly waives his right to challenge the
initiation of the dismissed or additional charges against him if he breaches this agreement. The

defendant expressly waives his right to assert a statute of limitations defense   if the dismissed or

additional charges are initiated against him following a breach of this agreement. The defendant

further understands and agrees that if the Government elects to file additional charges against him

following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

       8.      Preparation of Presentence   Report.   The defendant understands the United States

will provide to the Court and the United     States Probation Office a government version      of    the


offense   conduct. This may include information conceming the background, character, and

conduct of the defendant, including the entirety of his criminal activities. The defendant

understands these disclosures are not limited to the count to which he has pleaded      guilty.     The


United States may respond to comments made or positions taken by the defendant or the

defendant's counsel and to correct any misstatements or inaccuracies. The United States further

reserves its right to make any recommendations    it deems appropriate regarding the disposition of

this case, subject only to any limitations set forth in this plea agreement. The United States and

the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant

to Rule 32(i)(4) of the Federal Rules of Criminal Procedure.

          g.   Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant's plea of guilty and

its formal acceptance by the   Court. In the event of such withdrawal,   the parties will be restored

to their pre-plea agreement positions to the fullest extent possible. However, after the plea has

been formally accepted by the Court, the defendant may withdraw his plea of guilty only         if   the

Court rejects the plea agreement or if the defendant can show a fair and just reason for requesting
the   withdrawal. The defendant understands that if the Court        accepts his plea   of guilty and this

plea agreement but subsequently imposes a sentence that is outside the defendant's applicable

Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, he   will not   be permitted to withdraw his plea of guilty.

         10.     Agreed Guidelines Applications. With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

                 a.   The Sentencing Guidelines do not bind the Court and are advisory in
         nature. The Court may impose a sentence that is either above or below                 the
         defendant's applicable Guidelines range, provided the sentence imposed is not
         "unreasonable";

                 b.  The applicable Guidelines section for the offense of conviction is
         U.S.S.G. $ 2K2.1(a)(4), which provides for a base offense level of 20;

                 c.  The parties agree the four-level enhancement under U.S.S.G.
         S 2K2.1(b)(6XB) due to the defendant's possession of methamphetamine as
         described in Paragraph 3;

                 d.  The parties agree the two-level enhancement under U.S.S.G. $ 3C1.2
         due to the defendant's flight from law enforcement as described in Paragraph 3;

                 e. The defendant has admitted his guilt and clearly accepted responsibility
         for his actions, and has assisted authorities in the investigation or prosecution of his
         own misconduct by timely notifying authorities of his intention to enter a plea of
         guilty, thereby permitting the Government to avoid preparing for trial and
         permitting the Government and the Court to allocate their resources efficiently.
         Therefore, he is entitled to a three-level reduction pursuant to $ 3E1.1(b) of the
         Sentencing Guidelines, unless the defendant (1)fails to abide by all of the terms
         and conditions of this plea agreement and his pretrial release; or (2) attempts to
         withdraw his guilty plea, violates the law, or otherwise engages in conduct
         inconsistent with his acceptance of responsibility;

                 f. There is no agreement between the parties regarding the defendant's
         criminal history category. The parties agree that the Court will determine his
         applicable criminal history category after receipt of the presentence investigation
         report prepared by the United States Probation Office;


                                                     8
               g.  The defendant understands that the estimate of the parties with respect
       to the Guidelines computation set forth in the subsections of this paragraph does
       not bind the Court or the United States Probation Office with respect to the
       appropriate Guidelines levels. Additionally, the failure of the Court to accept
       these stipulations will not, as outlined in Paragraph 9 of this plea agreement,
       provide the defendant with a basis to withdraw his plea of guilty;

               h.  The United States agrees not to seek an upward departure from the
       Guidelines or a sentence outside the Guidelines range, and defendant agrees to not
       seek a downward departure from the Guidelines or a sentence outside the
       Guidelines range. The agreement by the parties to not seek a departure from the
       Guidelines is not binding upon the Court or the United States Probation Office and
       the Court may impose any sentence authorized by law, including any sentence
       outside the applicable Guidelines range that is not "uffeasonable";

               i. The defendant consents to judicial fact-finding by a preponderance of
       the evidence for all issues pertaining to the determination of the defendant's
       sentence, including the determination of any mandatory minimum sentence
       (including the facts that support any specific offense characteristic or other
       enhancement or adjustment), and any legally authorized increase above the normal
       statutory maximum. The defendant waives any right to a jury determination
       beyond a reasonable doubt of all facts used to determine and enhance the sentence
       imposed, and waives any right to have those facts alleged in the Indictment. The
       defendant also agrees that the Court, in finding the facts relevant to the imposition
       of sentence, may consider any reliable information, including hearsay; and

               j.  The defendant understands and agrees that the factual admissions
       contained in Paragraph 3 of this plea agreement, and any admissions that he will
       make during his plea colloquy, support the imposition of the agreed-upon
       Guidelines calculations contained in this agreement.

        11.   Effect of Non-Asreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed       in   Paragraph 10, and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.




                                                9
        12.      Change in Guidelines Prior to Sentencing. The defendant agrees that              if   any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by defendant to be sentenced pursuant to the new Guidelines        will make this plea agreement

voidable by the United States at its      option. If the Govemment exercises its option to void        the

plea agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

        13.      Government's Reservation of       Rights.   The defendant understands that the United

States expressly reserves the    right in this case to:

                  a.
                  oppose or take issue with any position advanced by defendant at the
       sentencing hearing which might be inconsistent with the provisions of this plea
       agreement;

                  b.   comment on the evidence supporting the charges in the Indictment;

                  c.
                   oppose any arguments and requests for relief the defendant might
       advance on an appeal from the sentences imposed and that the United States
       remains free on appeal or collateral proceedings to defend the legality and propriety
       of the sentence actually imposed, even if the Court chooses not to follow any
       recommendation made by the United States; and

                  d.   oppose any post-conviction motions for reduction of sentence, or other
       relief.

        14. Waiver of            Constitutional     Riehts. The defendant, by pleading           guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the

following rights:

                  a.   the right to plead not guilty and to persist in a plea of not guilty;

                  b.
                  the right to be presumed innocent until his guilt has been established
       beyond a reasonable doubt attrial;




                                                     10
                 c. the right to a jury trial, and at that trial, the right to the effective
        assistance of counsel:

                 d.    the right to confront and cross-examine the witnesses who testify
        against him;

                 e.   the right to compel or subpoena witnesses to appear on his behalf; and

                 f.the right to remain silent at trial, in which case his silence may not be
        used against him.

        The defendant understands that by pleading guilty, he waives or gives up those rights and

that there   will be no trial. The defendant further    understands that   if he pleads guilty, the Court

may ask him questions about the offense or offenses to which he pleaded guilty, and                  if   the

defendant answers those questions under oath and in the presence of counsel, his answers may

later be used against him in a prosecution for perjury or making a false statement. The defendant

also understands he has pleaded guilty to a felony offense and, as a result,       will   lose his right to

possess a firearm or ammunition and might be deprived of other rights, such as the right to vote or

register to vote, hold public office, or serve on a jury.

        15. Waiver of Appellate and Post-Conviction Rishts.
                a. The defendant acknowledges, understands and agrees that by pleading
        guilty pursuant to this plea agreement he waives his right to appeal or collaterally
        attack a finding of guilt following the acceptance of this plea agreement, except on
        grounds of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

                 b.    The defendant expressly waives his right to appeal his sentence,
        directly or collaterally, on any ground except claims of (1) ineffective assistance of
        counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An "illegal
        sentence" includes a sentence imposed in excess of the statutory maximum, but
         does not include less serious sentencing errors, such as a misapplication of the
        Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
        sentence. However, if the United States exercises its right to appeal the sentence
        imposed as authorized by 18 U.S.C. $ 3742(b), the defendant is released from this
        waiver and may, as part of the Government's appeal, cross-appeal his sentence as

                                                   11
       authorized by 18U.S.C. $37a2@) with respect to any issues that have not been
       stipulated to or agreed upon in this agreement.

       16。    Financial Oblisations. By entering into this plea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

               a.   The Court may order restitution to the victims of the offense to which
       the defendant is pleading guilty. The defendant agrees that the Court may order
       restitution in connection with the conduct charged in any counts of the Indictment
       which are to be dismissed and all other uncharged related criminal activity.

               b. The United States may use the Federal Debt Collection Procedures Act
       and any other remedies provided by law to enforce any restitution order that may
       be entered as part ofthe sentence in this case and to collect any fine.

               c. The defendant   willfully     truthfully disclose all assets and property in
                                              and
       which he has any interest, or over which the defendant exercises control directly or
       indirectly, including assets and property held by a spouse, nominee or other third
       party. The defendant's disclosure obligations are ongoing, and are in force from
       the execution of this agreement until the defendant has satisfied the restitution order
       in tull.

               d.  Within 10 days of the execution of this plea agreement, at the request of
       the USAO, the defendant agrees to execute and submit (1) a Tax Information
       Authorization form; (2) an Authorization to Release Information; (3) a completed
       financial disclosure statement; and (4) copies of f,rnancial information that the
       defendant submits to the U.S. Probation Office. The defendant understands that
       compliance with these requests will be taken into account when the United States
       makes a recorrunendation to the Court regarding the defendant's acceptance of
       responsibility.

               e. At the request of the USAO, the defendant agrees to undergo any
       polygraph examination the United States might choose to administer concerning
       the identification and recovery of substitute assets and restitution.

               f.  The defendant hereby authorizes the USAO to obtain a credit report
       pertaining to him to assist the USAO in evaluating the defendant's ability to satisfy
       any financial obligations imposed as part of the sentence.
                                                    つ乙
                 g.   The defendant understands that a Special Assessment will be imposed
          as part of the sentence in this case. The defendant promises to pay the Special
          Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
          the Court prior to appearing for the sentencing proceeding in this case. The
          defendant agrees to provide the Clerk's receipt as evidence of his fulfillment of this
          obligation at the time of sentencing.

                 h.   The defendant certifies that he has made no transfer of assets or property
          for the purpose of (1) evading financial obligations created by this Agreement; (2)
          evading obligations that may be imposed by the Court; nor (3) hindering efforts of
          the USAO to enforce such financial obligations. Moreover, the defendant
          promises that he will make no such transfers in the future.

                 i.      In the event the United States learns of any misrepresentation in the
          hnancial disclosure statement, or of any asset in which the defendant had an interest
          at the time of this plea agreement that is not disclosed in the financial disclosure
          statement, and in the event such misrepresentation or nondisclosure changes the
          estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
          the United States may at its option: (1) choose to be relieved of its obligations
          under this plea agreement; or (2) let the plea agreement stand, collect the full
          forfeiture, restitution, and fines imposed by any criminal or civil judgment, and also
          collect 100% (one hundred percent) of the value of any previously undisclosed
          assets. The defendant agrees not to contest any collection ofsuch assets. In the
          event the United States opts to be relieved of its obligations under this plea
          agreement, the defendant's previously entered pleas of guilty shall remain in effect
          and cannot be withdrawn.

          17.   Waiver of FOIA Request. The defendant waives all of his rights. whether asserted

directly or by a representative. to request or receive, or to authorize any third party to request or

receive, from any department or agency of the United States any records pertaining to the

investigation or prosecution of this case including, without limitation, any records that may be

soughtundertheFreedomoflnformationAct,5 U.S.C. $ 552,orthePrivacyActof 1974,5 U.S.C.

$ 552a.




                                                   13
          18. Waiver of Claim for Attorney's Fees.            The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. $ 30064, for attorney's fees and other litigation expenses

arising out of the investigation or prosecution of this matter.

          19. Defendant's     Breach of Plea Agreement.        If   the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing

of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if          the

defendant provides information       to the Probation Office or the Court that is        intentionally

misleading, incomplete, or untruthful, or otherwise breaches this plea agreement. the United States

will   be released from its obligations under this   agreement. The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

          The defendant also understands and agrees that in the event he violates this plea agreement,

all statements made by him to law enforcement agents subsequent to the execution of this plea

agreement, any testimony given by him before a grand       jury or any tribunal or any leads from such

statements or testimony shall be admissible against him in any and all criminal    proceedings. The

defendant waives any rights that he might assert under the United States Constitutiofl,   ffiy   statute,

Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,

or any other federal rule that pertains to the admissibility of any statements made by him

subsequent to this plea agreement.

          20.   Defendant's Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

approval of counsel. The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in corurection with

                                                     14
this plea agreement. The defendant further acknowledges that no threats or promises, other than

the promises contained in this plea agreement, have been made by the United States, the Court, his

attomeys or any other party to induce him to enter his plea of guilty.

         21.   No Undisclosed   Terms.   The United States and defendant acknowledge and agree

that the above-stated terms and conditions, together with any written supplemental agreement that

might be presented to the Court in camera, constitute the entire plea agreement between the parties,

and that any other terms and conditions not expressly set forth in this agreement or any written

supplemental agreement do not constitute any part of the parties' agreement and         will not be

enforceable against either party.

         22.   Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent   in plea agreements    require otherwise, this plea agreement should be

interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agtee that, in interpreting this agreement, any

drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifring this agreement.

                                                      Timothy A. Garrison
                                                      United States Attorney


Dated:

                                                      Assistant United States Attorney
                                                      Violent Crime & Drug Trafficking Unit




                                                15
        I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorney. I understand this
plea agreement and I voluntarily agree to it.


Dtted:LD′ t5″ 13'2り

                                                     Defendant



        I am defendantZorarn Sepulveda's attorney. I have fully explained to him his rights with
respect  to the offenses charged in the Indictment. Further, I have reviewed with him the
provisions of the Sentencing Guidelines which might apply in this case. I have carefully
reviewed every part of this plea agreement with him. To my knowledge, Zoram Sepulveda's
decision to enter into this plea agreement is an informed and voluntary one.




                                                     Attorney for Defendant Zoram Sepulveda




                                                16
